       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                               FOURTH DISTRICT

                     ROBERT NICHOLAS KOVACS,
                             Appellant,

                                     v.

                          STATE OF FLORIDA,
                               Appellee.

                            No. 4D2023-2983

                            [August 21, 2024]

  Appeal from the Circuit Court for the Fifteenth Judicial Circuit, Palm
Beach County; Samantha Schosberg Feuer, Judge; L.T. Case No.
502011CF010350AXXXMB.

   Robert Kovacs, Lowell, pro se.

   Ashley Moody, Attorney General, Tallahassee, and Jonathan P. Picard,
Assistant Attorney General, West Palm Beach, for appellee.

PER CURIAM.

    Robert Kovacs appeals the circuit court’s order denying his motion for
extension of time to file a Florida Rule of Criminal Procedure 3.850 motion
for postconviction relief. We join our sister courts and conclude the denial
of a motion for extension of time to file a rule 3.850 motion for
postconviction relief is not an appealable final order. See, e.g., Gonzales
v. State, 350 So. 3d 108 (Fla. 3d DCA 2022); Criner v. State, 59 So. 3d 196,
196-97 (Fla. 1st DCA 2011); Payton v. State, 58 So. 3d 933, 933 (Fla. 2d
DCA 2011). If necessary, the denial of a motion to extend time can be
reviewed on appeal of the final order deciding the postconviction motion.
As a result, we dismiss the appeal.

   Appeal dismissed.

WARNER, GERBER and KUNTZ, JJ., concur.

                           *          *          *

    Not final until disposition of timely filed motion for rehearing.
